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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WISCONSIN


 Deborah Laufer,                                           Case No: 3:20-CV-680-WMC

               Plaintiff,
                                                             DEENDANT’S REPLY
        v.
                                                               MEMORANDUM
                                                             IN SUPPORT OF HIS
 Michael S. Rasmus, d/b/a
                                                            MOTION TO DISMISS OR
 Harbor’s Edge Motel,
                                                               FOR SUMMARY
                                                                 JUDGMENT
               Defendant.


       Plaintiff, given the opportunity to respond to dispositive case law from this District

and binding precedent from the Seventh Circuit, declined to do so. Because the legal

principles set forth in the case law are clear that Plaintiff lacks standing, Defendant’s

motion should be granted, Plaintiff’s claims should be dismissed with prejudice, and as the

prevailing party Defendant should be awarded his fees and costs.

   1. Dispositive Binding Precedent Require this Court to Dismiss Plaintiff’s Case

       In Plaintiff’s Opposition, Ms. Laufer continues to assert that an indeterminant intent

to stay in a hotel sometime in the future is enough to suffer an injury for purposes of

standing, for example arguing vociferously that Harty v. West Point Realty, --- F.Supp.3d

----, 2020 WL 4570595, (S.D.N.Y. Aug. 7, 2020) was wrongly decided. Pl. Opp. at pp. 1-

3. But Plaintiff’s disagreement with the law does not change the law. On essentially this

same complaint, the Court in Harty dismissed the claims for lack of standing. This Court

should do the same.
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       Further, in arguing Harty is wrongly decided, Plaintiff focuses on the Harty Court’s

alleged lack of consideration of Mr. Harty’s “inten[tion] to stay in area hotels,” arguing

this allegation is enough to show an injury. Pl. Opp. at p. 2. However, Plaintiff’s attempt

to distinguish Harty entirely disregards the main authorities from this District and this

Circuit outlined in Defendant’s opening brief. In fact, Plaintiff does not even address these

cases in her briefing. Understandably so, based on the content of those opinions, as they

are clear that Plaintiff lacks standing. In Scheibe v. National Bd. of Medical Examiners,

424 F.Supp.2d 1140 (W.D. Wis. 2006), the Court set forth the principle a plaintiff seeking

injunctive relief must be “immediately in danger of sustaining some direct injury.” Scheibe,

424 F.Supp.2d at 1144. Even if Plaintiff is to be believed,1 and she does in fact intend –

just as soon as the pandemic subsides – to visit 15 different states around the country on

her next vacation even though she says in her complaint that she has trouble getting around

at all without a wheelchair, having an intent to come to Wisconsin sometime in the future

is not an immediate danger. Id.

       This principle was crystalized in Scheibe, where a medical student who had already

passed the Step 1 and Step 2 board exams but had not registered for the Step 3 board exams

was found to not have standing when bringing a claim for refusal to accommodate. Scheibe,

424 F.Supp.2d at 1143-44. The plaintiff had been refused an accommodation for the first




1
  Which, when seeking permanent injunctive relief, this court is not required to do. In fact, in
seeking permanent injunctive relief, the Plaintiff must provide admissible evidence satisfying all
of the elements that would afford a permanent injunction. E360 Insight v. The Spamhaus Project,
500 F.3d 594 (7th Cir. 2007) (citing Walgreen Co. v. Sara Creek Property Co., B.V., 966 F.2d 273,
275 (7th Cir. 1992)).

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two exams, presumed he would be refused for the third, and filed suit on that basis. Id. at

1144. Even on those facts, the Court in this District found he had not experienced an injury

that conveyed standing. Id. at 1145. There is even a finite amount of time for completion

of the Step 3 exam, something Laufer does not have.2 “Speculation or a possibility of future

harm is not sufficient to support standing to seek injunctive relief.” Id. at 1145 (citing City

of Los Angeles v. Lyons, 461 U.S. 95, 102, 110, 103 S.Ct. 1660, 75 L.Ed.2d 675 (1983);

Palmer v. City of Chicago, 755 F.2d 560, 572 (7th Cir. 1985)). The plaintiff in Scheibe was

much closer to suffering a direct injury than is Ms. Laufer, and he was found to not have

standing. Plaintiff here also has no standing to bring her suit, and it should be dismissed.

       Even after being given two chances to address it (once directly by this Court, the

other in response to Defendant’s motion), Plaintiff also fails to discuss critical and

dispositive sections of Carello v. Aurora Policemen Credit Union, 930 F.3d 830 (7th Cir.

2019). “A tester must still satisfy the elements of standing, including the injury-in-fact

requirement.” Carello, 930 F.3d at 833 (citing Havens Realty Corp. v. Coleman, 455 U.S.

363, 374-75, 102 S.Ct. 1114 (1982)). “And because [Laufer] seeks injunctive relief, [she]

must also demonstrate that [s]he faces a ‘real and immediate’ threat of future injury...”

Carello, 930 F.3d at 833. “Indignation is not an injury-in-fact.” Id. at 834 (citing Clay v.

Fort Wayne Cmty. Sch., 76 F.3d at 873, 879 (7th Cir. 1996)). Real and immediate threat is

not satisfied by a general averment of intention to do something in the future. Scheibe, 424



2
  The current deadline is six years after completing the first step exam. Federation of State Medical
Boards, CRITICAL ANNOUNCEMENTS, https://www.fsmb.org/step-3/step-3-announcements/
(last accessed October 27, 2020).

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F.Supp.2d at 1145. Plaintiff has failed to address dispositive sections of binding precedent

on this Court’s ruling. She has not suffered an injury-in-fact; she has, at best, set herself up

to suffer an injury later, once she actually decides to come to Wisconsin. Her claims should

be dismissed for lack of standing.

   2. Harbor’s Edge is Not Required to Satisfy the 2010 Construction Standards

       Without citation, Plaintiff apparently reads Defendant’s opening brief as arguing the

ADA itself does not apply, then spends four pages arguing that Harbor’s Edge is covered

by the ADA. Pl. Opp. at pp. 3-6. But it is the 2010 construction requirements that do not

apply to Harbor’s Edge, not the ADA itself. Any statements in Defendant’s opening brief

that convey that the entire ADA does not apply were inadvertent and unintentional. It is

the intent of the law to have all places of public accommodation built prior to 1993 make

modifications that are readily available, and Harbor’s Edge has made readily achievable

changes to its buildings as required by the ADA. Rasmus Aff. at ¶¶ 5-9. But none of their

rooms are compliant with the 2010 standards because, as buildings built prior to 1993, the

law does not require them to modify their entire building to bring them into compliance

with these standards. Consequently, not listing their rooms as “ADA Compliant” on their

website is, in fact, compliant with the law.

   3. Plaintiff’s Procedural Failures and Discernible Underlying Intent Should
      Permit Defendant to Recover His Attorney Fees and Costs

       In the end, this lawsuit is not about accessibility. It is a small part of a nationwide

shakedown of more than 460 boilerplate complaints engineered by a plaintiff and an

opportunistic law firm to make money off of small businesses across the country, lining



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their own pockets through injunctions and quick settlements. And Defendant will be a

“prevailing party” under the ADA when this case is dismissed for lack of standing. With

that backdrop, and because of Plaintiff’s failure to follow the rules of procedure when

serving the documents, and because Plaintiff could have discovered the baselessness of her

claims with any sort of “reasonable investigation” as required by Rule 11, this case should

be dismissed with prejudice and Plaintiff should pay Defendant’s costs and fees for

responding to this lawsuit.

                                     CONCLUSION

       As articulated in Defendant’s opening brief, Plaintiff lacks standing to pursue this

lawsuit, and Defendant’s website is compliant because Harbor’s Edge has no ADA

compliant rooms to list. Plaintiff’s claims should be dismissed for lack of subject matter

jurisdiction and for failure to state a claim upon which relief can be granted.

       Further, because this action is not intended to enforce the ADA but instead to line

the pockets of the plaintiff and her counsel, because Defendant is the prevailing party under

the ADA, and because Plaintiff failed to comply with FRCP 5, and because the evidence

shows “reasonable investigation” could have prevented the filing of this action in the first

place, Defendant requests Plaintiff be ordered to pay his costs and fees in defending this

lawsuit in accordance with 42 U.S.C. §12205.

                                              Respectfully Submitted,

                                              FIEBIGER LAW LLC

 Dated: October 30, 2020                      s/Rolf T. Fiebiger
                                              Rolf T. Fiebiger, MN #391138
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